Case 8:20-cv-01453-DOC-KES Document 61 Filed 10/26/21 Page 1 of 2 Page ID #:334




                                                                   JS-6
 1

 2

 3

 4

 5

 6

 7

 8
                              UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10

11
     REUBEN NATHAN, individually and on         Case No.: 8:20-cv-01453-DOC-KES
12   behalf of all others similarly situated,
13                                                  PROPOSED ORDER
                 Plaintiff,
                                                    RE: DISMISSAL [60]
14         v.
15   REFORM SOLUTIONS
     INCORPORATED, and TITAN MUTAL
16   LENDING, INC.,
17
                                Defendants.
18

19

20

21

22

23

24

25

26

27

28


                               ORDER OF DISMISSAL
Case 8:20-cv-01453-DOC-KES Document 61 Filed 10/26/21 Page 2 of 2 Page ID #:335



 1
            In light of the parties’ stipulation dated October 20, 2021 dismissing this case
 2
     in its entirety based on a settlement of all claims, this matter is dismissed in its entirety
 3
     with prejudice, effective October 20, 2021.
 4

 5   IT IS SO ORDERED.
 6

 7   DATED: October 26, 2021                         ____________________________
                                                          Hon. David O. Carter
 8                                                        United States District Judge
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                 -1-
                               ORDER OF DISMISSAL
